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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION


    In Re: COOK MEDICAL, INC., IVC FILTERS
    MARKETING, SALES PRACTICES AND                           Case No. 1:14-ml-2570-RLY-TAB
    PRODUCTS LIABILITY LITIGATION                            MDL No. 2570


    This Document Relates to All Actions


                               ORDER REGARDING
          PLAINTIFFS’ FAILURE TO PRODUCE CASE CATEGORIZATION FORMS

            Pursuant to the Court’s Order on the Cook Defendants’ Motion for Screening Order and

   Bellwether Plan (Doc. 9322) and the Court’s Order Regarding Case Categorization and Census

   (Doc. 9638) (collectively with this Order, the “Court’s Categorization Orders”) the Court ordered

   Plaintiffs to categorize their cases in Categories Nos 1-7 and submit specific medical records

   supporting categorization by December 22, 2018.

            All plaintiffs that have not complied with that deadline are ordered to categorize using the

   form attached as Exhibit A to Doc. 9638, including the requirement to produce specific medical

   records, within seven days, by January 31, 2019. All plaintiffs that have not complied with the

   Court’s Categorization Orders by January 15, 2019, shall be dismissed with prejudice.

            Cook is ordered to provide the Court with a list of all plaintiffs that fail to comply with the

   Court’s Categorization Orders seven days later, on February 7, 2019, for entry of dismissal.

            SO ORDERED this 14th day of January 2019




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